                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                  KNOXVILLE DIVISION

   ----------------------------------------------------------------X
                                                                   :
   LEWIS COSBY, ERIC MONTAGUE, and                                 : No. 3:16-cv-00121-TAV-DCP
   MARTIN ZIESMAN, as Co-Trustee for the Carolyn :
   K. Ziesman Revocable Trust, on behalf of                        :
   themselves and all others similarly situated,                   :
                                                                   :
                                       Plaintiffs,                 :
                                                                   :
                              v.                                   :
                                                                   :
   KPMG LLP,                                                       :
                                                                   :
                                       Defendant.                  :
   ----------------------------------------------------------------X

                           [PROPOSED] THIRD SCHEDULING ORDER
          This matter is before the Court on the parties’ Joint Status Report pursuant to paragraph 3

   of the Modified Scheduling Order (ECF No. 96) and Order (ECF No. 212). Counsel for

   Plaintiffs Lewis Cosby, Eric Montague, and Martin Ziesman, as Co-Trustee for the Carolyn K.

   Ziesman Revocable Trust, on behalf of themselves and all others similarly situated (“Plaintiffs”)

   and Counsel for Defendant KPMG LLP (“KPMG”) are in agreement on this [Proposed] Third

   Scheduling Order.

           IT IS THEREFORE ORDERED that the [Proposed] Third Scheduling Order is entered
   as follows:
      1. Document Production to be completed by September 10, 2021;

      2. Fact Discovery to be completed by December 8, 2021;

      3. Plaintiffs’ Expert Reports to be served by December 23, 2021;

      4. Defendant’s Rebuttal Expert Reports to be served by January 24, 2022;

      5. Plaintiffs’ Reply Expert Reports to be served by February 14, 2022; and




Case 3:16-cv-00121-TAV-DCP Document 224 Filed 08/04/21 Page 1 of 2 PageID #: 21058
      6. Expert Discovery to be completed by March 4, 2022.


                                                   ________________________________
                                                   Hon. Thomas A. Varlan
                                                   UNITED STATES DISTRICT JUDGE


   APPROVED FOR ENTRY:

   Dated: August 4, 2021                        Respectfully submitted,

                                                /s/ Gregory G. Ballard
    COHEN MILSTEIN SELLERS & TOLL               MCDERMOTT WILL & EMERY LLP
    PLLC                                        Gregory G. Ballard (admitted pro hac vice)
    Laura H. Posner                             One Vanderbilt Avenue
    88 Pine Street, 14th Floor                  New York, NY 10017
    New York, NY 10005                          Telephone: 212-547-5330
    Telephone: 212-838-7797                     Email: gballard@mwe.com
    Email: lposner@cohenmilstein.com
                                                WALLER LANSDEN DORTCH & DAVIS, LLP
    COHEN MILSTEIN SELLERS & TOLL               Paul S. Davidson (TN BPR # 011789)
    PLLC                                        511 Union Street, Suite 2700
    Steven J. Toll                              Nashville, TN 37219
    Jan Messerschmidt                           Telephone: 615-244-6380
    1100 New York Ave NW, Suite 500             Email: paul.davidson@wallerlaw.com
    Washington, DC 20005
    Telephone: 202-408-4600                     LEWIS ROCA ROTHGERBER CHRISTIE LLP
    Fax: 202-408-4699                           Gary F. Bendinger (admitted pro hac vice)
    Email: stoll@cohenmilstein.com              201 East Washington Street, Suite 1200
    Email: jmesserschmidt@cohenmilstein.com     Phoenix, AZ 85004
                                                Telephone: 602-262-5353
    GORDON BALL                                 Email: gbendinger@lrrc.com
    Gordon Ball
    550 W. Main Street                          Counsel for Defendant KPMG LLP
    Suite 600
    Knoxville, TN 37902
    Telephone: 865-525-7029
    Email: gball@gordonball.com

    Counsel for Plaintiffs




                                       2
Case 3:16-cv-00121-TAV-DCP Document 224 Filed 08/04/21 Page 2 of 2 PageID #: 21059
